                    Case 1:15-cr-00194-VEC Document 81
                                                    80 Filed 10/20/20 Page 1 of 1
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MEMO ENDORSED                            RICHARD H. ROSENBERG
                                                  ATTORNEY AT LAW
                                                                                         DOCUMENT
                                                                                         ELECTRONICALLY FILED
                                                                                         DOC #:
                                                                                         DATE FILED: 10/20/2020
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                                                                      October 20, 2020

         Hon. Valerie E. Caproni
         United States District Court Judge
         United States District Court
         40 Foley Square
         New York, New York 10007

                                        Re: United States v. Ernesto Olivo
                                               15 Cr. 194 (VEC)

          Dear Judge Caproni:

                 On October 14, 2020 Your Honor re-appointed me pursuant to the Criminal Justice Act to
         prepare and ﬁle a supplemental motion for compassionate release pursuant 18 U.S.C.§3582 ( c )
         (l) (A) on behalf of defendant Olivo. Per the Court’s order counsel’s submission is due by
         November 16, 2020.

                 Due to my heavy schedule and the volume of materials pertaining to Mr. Olivo’s medical
         history and issues I write today to respectfully request authorization for the expenditure of CJA
         funds to retain the services of Clara S. Kalhous as associate counsel to assist me in the
         preparation and filing of the supplemental motion. Ms. Kalhous has assisted me and several
         other SDNY CJA counsels in the past as an associate counsel. Ms. Kalhous is quite experienced
         in reviewing digital discovery, legal research and preparing legal memoranda. She is a 2009
         Cardozo Law school graduate and is admitted to practice before this Court. Ms. Kalhous would
         be an important addition in support of defendant Olivo’s quest for relief from the Court.

                Should Your Honor be inclined to grant this application it is respectfully requested that
         Ms. Kalhous be approved at the rate of $100.00 per hour.

                 Thank you for your consideration and courtesies to counsel.



Counsel is authorized to retain the services of Ms. Kalhous as       Very sincere
associate counsel at a rate of $100 per hour for up to 20 hours.

SO ORDERED.                                                          Richard H. Rosenberg



                             10/20/2020

HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
